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                                  UNITED STATES DISTRICT COURT
                                    DISTRICT OF RHODE ISLAND

JOHN DOE, a Pseudonym,                                    :
                                                          :
         Plaintiff,                                       :
                                                          :   C.A. No.: 2017-191 -JJM-LDA
v.                                                        :
                                                          :
BROWN UNIVERSITY                                          :
                                                          :
         Defendant,                                       :
                                                          :


 NON-PARTY RHODE ISLAND HOSPITAL’S MOTION TO QUASH AND/OR IN THE
              ALTERNATIVE FOR A PROTECTIVE ORDER

         Nonparty Rhode Island Hospital (the “Hospital”) hereby seeks a Protective Order from

this Court and/or an Order quashing the subpoena served on them on or about October 16, 2018,

regarding certain health care information sought in the above-captioned matter (attached hereto

as Exhibit A).            In support of this Motion, the Hospital relies on the simultaneously filed

memorandum of law and generally states that the medical records sought are subject to

protection by state law, with specific notification requirements.


                                                         RHODE ISLAND HOSPITAL,
                                                         By Their Attorneys,

                                                         /s/ William M. Daley                .
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Dated: October 19, 2018


18573992-v1
Oral Argument Requested
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                               CERTIFICATE OF SERVICE

        I hereby certify that on this 19th day of October 2018, I personally caused a copy of the
foregoing to be filed via the Court’s CM/ECF system, which will send an email to all counsel of
record in this matter, containing a link to this document.
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                                                    /s/ William M. Daley
                                                    William M. Daley




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